
705 S.E.2d 750 (2011)
STARK, et al.
v.
FORD MOTOR COMPANY.
No. 313PA10-1.
Supreme Court of North Carolina.
February 3, 2011.
K. Edward Greene, Raleigh, for Stark, Cheyenne Saleena et al.
Kirk G. Warner, Raleigh, for Ford Motor Company.
Robert L. Wise, for Ford Motor Company.
Adam Charnes, Winston-Salem, for Ford Motor Company.
Stephen J. Darmody, Miami, FL, for National Association of Manufacturers, et al.
Andrew H. Erteschik, Raleigh, for NC Assoc. of Defense Attorneys and NC Chamber.
Burley B. Mitchell, Jr., Raleigh, for Product Liability Advisory Council.
William F. Womble, Winston-Salem, for Product Liability Advisory Council.
The following order has been entered on the motion filed on the 6th of August 2010 by Product Liability Advisory Council for Leave to File Amicus Curiae Brief:
"Motion Dismissed without prejudice to refile pursuant to 28(i). By order of the Court in conference, this the 3rd of February 2011."
